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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 TAWANNA M. ROBERTS,                                            :
                                              Plaintiff(s), :
                                                                :   16 Civ. 4841 (LGS)
                            -against-                           :
                                                                :        ORDER
 CAPITAL ONE, N.A.,                                             :
                                              Defendant(s). :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, the Order, dated October 29, 2020 (Dkt. No. 195), directed Plaintiffs to (1)

direct the settlement administrator to notify class members whose opt-out requests were rejected

of the reasons for such rejections, as well as their inclusion in the class and (2) certify that such

notification was made by November 5, 2020.

         WHEREAS, Plaintiffs state they requested the settlement administrator make such

notifications but have not certified that such notifications are complete (Dkt. No. 194). It is

hereby

         ORDERED that by November 12, 2020, Plaintiffs shall certify that the settlement

administrator notified class members whose ot-out requests of the reasons for such rejections, as

well as their inclusion in the class.

Dated: November 10, 2020
       New York, New York
